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1                                                                            Honorable Richard A. Jones

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7                                UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF WASHINGTON
8                                         AT SEATTLE

9    UNITED STATES OF AMERICA,
                                                          No. CR23-179 (RAJ)
10                              Plaintiff,

            v.                                            AMENDED STIPULATED MOTION TO
11
                                                          MODIFY DKT. 49
12   CHANGPENG ZHAO,
                                                          NOTING DATE: January 23, 2024
13
                                 Defendant.
14

15

16          Defendant Changpeng Zhao, by and through his attorney, Mark N. Bartlett, of Davis

17   Wright Tremaine LLP, files this stipulated motion to modify Dkt. 49 and unseal the Motion to
18   Seal Submission for Permission to Travel. The Letter to Judge Jones Re Permission to Travel
19
     (filed with said Motion) is attached hereto and shall be filed with agreed redactions and Exhibit
20
     A to the Letter to Judge Jones Re Permission to Travel shall be redacted in its entirety and is
21
     alsko attached hereto.
22
            The text proposed for redactions contains personal health and protected information.
23
     The proposed redactions are necessary to protect the interests of Mr. Zhao and third parties and
24
     are narrowly tailored to achieve that goal.
25


     AMENDED STIPULATED MOTION TO MODIFY                              Davis Wright Tremaine LLP
                                                                               L AW O FFICE S
     DKT. 49                                                             920 Fifth Avenue, Suite 3300
                                                                           Seattle, WA 98104-1610
     [No. CR 23-cr-00179 RAJ] - Page 1                              206.622.3150 main · 206.757.7700 fax
                 Case 2:23-cr-00179-RAJ Document 56 Filed 01/23/24 Page 2 of 8




               This Court has discretion to grant the requested relief under its inherent “supervisory
1
     power over its own records and files.” Nixon v. Warner Communications, 435 U.S. 589, 598
2

3    (1978).

4              This is a stipulated motion that has been reviewed and approved by the United States,

5    and both parties agree with the suggested redactions.

6              DATED: January 23, 2024.
7       Davis Wright Tremaine LLP
        Attorney for Defendant Changpeng Zhao,
8
        aka “CZ”
9
        By s/ Mark N. Bartlett
10      Mark N. Bartlett, WSBA No. 15672
        Davis Wright Tremaine LLP
11      920 Fifth Avenue, Suite 3300
        Seattle, WA 98104-1610
12      Telephone: 206.622.3150
        Facsimile: 206.757.7700
13      Email: markbartlett@dwt.com
14
        Stipulated by:
15
        TESSA M. GORMAN
16      United States Attorney
        Western District of Washington
17      U.S. Department of Justice
18
        s/ Jonas Lerman
19      Jonas Lerman
        Assistant United States Attorney
20      700 Stewart Street, Suite 5220
        Seattle, WA 98101
21      Telephone: 206.553.7970
        Email: jonas.lerman@usdoj.gov
22

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     AMENDED STIPULATED MOTION TO MODIFY                                Davis Wright Tremaine LLP
                                                                                 L AW O FFICE S
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                                                                             Seattle, WA 98104-1610
     [No. CR 23-cr-00179 RAJ] - Page 2                                206.622.3150 main · 206.757.7700 fax
               Case 2:23-cr-00179-RAJ Document 56 Filed 01/23/24 Page 3 of 8




                                    CERTIFICATE OF SERVICE
1

2
            I certify that on the date below, I filed the foregoing document with the Clerk of the
3
     Court using the CM/ECF system which will send notification of filing to all parties registered
4
     with the CM/ECF system.
5
            DATED: January 23, 2024
6
                                                         s/ Mark Bartlett
7                                                        Mark Bartlett
8

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     AMENDED STIPULATED MOTION TO MODIFY                            Davis Wright Tremaine LLP
                                                                             L AW O FFICE S
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                                                                         Seattle, WA 98104-1610
     [No. CR 23-cr-00179 RAJ] - Page 3                            206.622.3150 main · 206.757.7700 fax
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      EXHIBIT
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December 22, 2023                                                       Chicago        Riyadh
                                                                        Dubai          San Diego
                                                                        Düsseldorf     San Francisco
                                                                        Frankfurt      Seoul
SUBMITTED UNDER SEAL                                                    Hamburg        Silicon Valley
VIA ELECTRONIC MAIL                                                     Hong Kong      Singapore

(jonesorders@wawd.uscourts.gov)                                         Houston        Tel Aviv
                                                                        London         Tokyo
                                                                        Los Angeles    Washington, D.C.
The Honorable Richard A. Jones                                          Madrid
United States District Court
Western District of Washington
700 Stewart Street, Suite 13128
Seattle, Washington 98101-9906

                      Re:      United States v. Changpeng Zhao, No. CR 23-179 (RAJ)(BAT)

Dear Judge Jones:

         We represent Changpeng Zhao in the above-referenced action. We respectfully submit this
letter to seek permission for Mr. Zhao to travel to the United Arab Emirates (“UAE”) beginning
January 4, 2024 for one to four weeks. This time period would allow Mr. Zhao to be present for
the hospitalization and surgery of                       and     subsequent recovery period. As
detailed below,                    surgery is scheduled for January 5, 2024 at
                                   in Abu Dhabi. Mr. Zhao pleaded guilty on November 21, 2023
and has been on bail subject to a bond entered that same day, as modified by this Court on
December 7, 2023.1

       With the Court’s permission, Mr. Zhao will provide his itinerary and all relevant additional
information to Pretrial Services for the Western District of Washington (“WDWA Pretrial
Services”) prior to his departure. He will report his arrival to the WDWA Pretrial Services officer
immediately upon his return.

           With regard to the medical procedure,
                   is scheduled to undergo


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  Under the Court’s conditions, as modified by the December 7, 2023 Order, Mr. Zhao posted a $175 million
personal recognizance bond, secured by two guarantors with cash pledges of $100,000 and $250,000,
respectively, and a third guarantor with real property located in Los Angeles, California, valued in excess
of $5 million. ECF No. 33. Mr. Zhao also previously wired an additional $15 million to the United States
that is held in the trust account of his Seattle-based attorney. See ECF No. 34, at 5 (“$15 million in security
custodied with [Mr.] Zhao’s counsel”). This Court has further ordered that Mr. Zhao “remain in the
continental United States during the period between his plea and sentencing” and is “free to travel within
the United States.” ECF No. 46.
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The Honorable Richard A. Jones
December 22, 2023
Page 2




on January 5, 2024. The procedure was originally scheduled for December 19, 2023, but was
postponed to January 5 because                                            . The procedure will
require general anesthesia, a minimum of six hours of recovery in the hospital, and an estimated
post-surgery recovery period of two weeks. We have provided a statement from
           Dr.                     at Exhibit A.


       Due to ongoing family commitments in the UAE,
                                Mr. Zhao’s partner and their children are unable to travel to the
United States in the time period before sentencing.

         If the Court is unable to permit Mr. Zhao to reside at home in the UAE for the full extent
of this requested time, he respectfully requests that he be permitted to return home for the surgery
and initial recovery period, specifically January 4 through January 11, 2024.

        If necessary to address any concerns the Court may have about this travel and to ensure
that he is able to be with        and family during this important period, Mr. Zhao is prepared to
provide significant additional property and financial security to assure his timely return, including
pledging all of his equity in Binance US, which was worth $4.5 billion in the last round of
fundraising 2 years ago.

         The Government has not consented to this request. Thank you for your consideration.

                                       Respectfully submitted,


                                       /s/ Benjamin Naftalis
                                       Benjamin Naftalis
                                       of LATHAM & WATKINS LLP

                                       /s/ Mark Bartlett
                                       Mark Bartlett
                                       of DAVIS WRIGHT TREMAINE LLP

                                       /s/ William Burck
                                       William Burck
                                       of QUINN EMANUEL URQUHART & SULLIVAN LLP

cc:      The Honorable Brian A. Tsuchida
         Erin O’Donnell, Pretrial Services
         Michael Dion
         Jonas Lerman
         Kevin Mosley
         Elizabeth Carr
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                EXHIBIT A
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